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                                  UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                                       ORDER GRANTING MOTION
                                                                      TO MODIFY TERM
            Plaintiff,                                             OF SUPERVISED RELEASE

  v.
                                                                      Case. no. 1:15-cr-00010-DN
  AARON ELLIOTT,
                                                                      District Judge David Nuffer
            Defendant.


       Based on Defendant’s Unopposed Motion to Modify Term of Supervised Release

(“Motion”), 1 pursuant to 18 U.S.C. § 3583(e)(2) and FED. R. CIV. P. 32.1(c), and for good cause

appearing,

       IT IS HEREBY ORDERED that Defendant’s Motion 2 is GRANTED. The term of

Defendant’s supervised release ordered in the Judgment 3 is modified to a term of five (5) years.

       Signed this 6th day of May, 2020.

                                                               BY THE COURT:


                                                               ____________________________
                                                               David Nuffer
                                                               United States District Judge




       1
           Docket no. 51, filed May 4, 2020.
       2
           Id.
       3
           Judgment in a Criminal Case at 3, docket no. 32, filed Dec. 23, 2015.
